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                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION


 In re:                                         Chapter 11

 HIGHLAND CAPITAL MANAGEMENT, L.P.              Case No. 19-34054 (SGJ)

                    Reorganized Debtor.

 MARC S. KIRSCHNER, AS LITIGATION               Adv. Pro. No. 21-03076-sgj
 TRUSTEE OF THE LITIGATION SUB-
 TRUST,                                         THE DONDERO DEFENDANTS’
                                                MOTION TO STAY AND RESPONSE
                    Plaintiff                   TO PLAINTIFF’S MOTION TO STAY

          v.

 JAMES D. DONDERO; MARK A. OKADA;
 SCOTT ELLINGTON; ISAAC LEVENTON;
 GRANT JAMES SCOTT III; FRANK
 WATERHOUSE; STRAND ADVISORS, INC.;
 NEXPOINT ADVISORS, L.P.; HIGHLAND
 CAPITAL      MANAGEMENT          FUND
 ADVISORS, L.P.; DUGABOY INVESTMENT
 TRUST AND NANCY DONDERO, AS
 TRUSTEE OF DUGABOY INVESTMENT
 TRUST; GET GOOD TRUST AND GRANT
 JAMES SCOTT III, AS TRUSTEE OF GET
 GOOD TRUST; HUNTER MOUNTAIN
 INVESTMENT TRUST; MARK & PAMELA
 OKADA FAMILY TRUST – EXEMPT TRUST
 #1 AND LAWRENCE TONOMURA AS
 TRUSTEE OF MARK & PAMELA OKADA
 FAMILY TRUST – EXEMPT TRUST #1;
 MARK & PAMELA OKADA FAMILY TRUST
 – EXEMPT TRUST #2 AND LAWRENCE
 TONOMURA IN HIS CAPACITY AS
 TRUSTEE OF MARK & PAMELA OKADA
 FAMILY TRUST – EXEMPT TRUST #2; CLO
 HOLDCO,    LTD.;   CHARITABLE     DAF
 HOLDCO, LTD.; CHARITABLE DAF FUND,
 LP.; HIGHLAND DALLAS FOUNDATION;
 RAND PE FUND I, LP, SERIES 1; MASSAND
 CAPITAL, LLC; MASSAND CAPITAL, INC.;
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 SAS ASSET RECOVERY, LTD.; AND CPCM,
 LLC,

                      Defendants.


      DEFENDANTS JAMES D. DONDERO, DUGABOY INVESTMENT TRUST, GET
       GOOD TRUST, AND STRAND ADVISORS, INC.’S MOTION TO STAY AND
                RESPONSE TO PLAINTIFF’S MOTION TO STAY


I.      INTRODUCTION

        Defendants James D. Dondero, Strand Advisors, Inc., Dugaboy Investment Trust, and Get

Good Trust (collectively, the “Dondero Defendants”) hereby file this Motion to Stay and Response

to the Motion to Stay filed by Marc S. Kirschner, as Litigation Trustee of the Litigation Sub-Trust

(“Litigation Trustee”). While the Dondero Defendants agree that a stay is appropriate, the terms

of the Litigation Trustee’s proposed stay are insufficient to conserve party and judicial resources

or to facilitate a global resolution of the myriad of issues currently being litigated in connection

with bankruptcy of Highland Capital Management, LP’s (“HCMLP” or the “Debtor”). The Court

should exercise its discretion to fashion a stay that will achieve more than just delay, which benefits

no one. Instead, any stay entered by the Court should (1) pause several proceedings and issues

being litigated in the context of the HCMLP bankruptcy, (2) require the parties to submit their

remaining disputes to mediation, and (3) mandate disclosures by the Claimant Trustee and the

Debtor that will allow the parties to meaningfully discuss resolution. If, as the Litigation Trustee

claims, the goal of a stay is to “defer extensive litigation expenses during the Stay Period, and

perhaps permanently,” then the Dondero Defendants’ Cross-Motion should be granted.

II.     FACTUAL BACKGROUND

        The Bankruptcy Court confirmed the Debtor’s Fifth Amended Plan of Reorganization (the

“Plan”) on February 22, 2021. See Plan Confirmation Order, Bankr. Dkt. 1943. The Plan became


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effective on August 11, 2021. See Bankr. Dkt. 2700. The Litigation Trustee commenced an

adversary proceeding against the Dondero Defendants and others two months later, on Ocober 15,

2021. The Debtor has since disclosed that it has distributed in excess of $261 million to claims

holders. See Post-Confirmation Report, Bankr. Dkt. 3582 at 7. The Debtor has not disclosed the

total amount of claims left to be paid or the total assets the Debtor has available to pay such claims.

         On March 24, 2023, the Litigation Trustee filed a Motion to Stay the Adversary Proceeding

(the “Litigation Trustee’s Motion”), along with a Motion for Expedited Hearing on Motion to Stay

the Adversary Proceeding.1 See Kirschner v. Dondero, et al., Adv. Proc. No. 21-03076-sgj

(“Kirschner Adversary”), Dkts. 322, 323. The Litigation Trustee’s Motion proposes that the Court

stay the Kirschner Adversary for six months, until September 30, 2023, “to allow assets to be

monetized pursuant to the Plan while conserving resources for all parties and third parties.”

Litigation Trustee’s Motion at ¶ 15. According to the Litigation Trustee, a stay would “also

promote judicial efficiency because pursuit of this litigation may prove unnecessary” depending

on the “results of the monetization of HCMLP’s remaining assets and the satisfaction of

indemnification obligations. Id. at ¶¶ 19-20.2

III.     LEGAL STANDARD

         A federal court has the inherent power to control its own docket, including the power to

stay proceedings before it. Clinton v. Jones, 520 U.S. 681, 706 (1997) (citing Landis v. N. Am.

Co., 299 U.S. 248, 254–55 (1936) (“[T]he power to stay proceedings is incidental to the power


1
  The Litigation Trustee filed the Motion as opposed. The Dondero Defendants communicated that they were
amenable to a stay, and the parties were in negotiations regarding this issue, but the Dondero Defendants were not
able to agree to the Litigation Trustee’s Motion as written within the short time frame presented.
2
  The Litigation Trustee’s Motion also makes assertions about the breadth of discovery conducted in this Adversary
Proceeding to date. These issues have nothing to do with the relief sought, and so the Dondero Defendants do not
address them at any length here. Notably, however, the Dondero Defendants are conducting discovery in good faith
in accordance with their obligations under applicable rules and dispute the Litigation Trustee’s assertions to the
contrary. Moreover, as the Litigation Trustee is well aware, the vast majority of documents relevant to the Adversary
Proceeding are in the possession of the Debtor, not in the possession of the defendants.


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inherent in every court to control the disposition of causes on its docket with economy of time and

effort for itself, for counsel, and for litigants.”)). When considering motions to stay, courts “must

weigh competing interests and maintain an even balance.” Landis, 299 U.S. at 254. It is likewise

within the Court’s inherent authority to refer contested matters to mediation. See In re Sargeant

Farms, Inc., 224 BR 842 (Bankr. M.D. Fla.) (“[I]t is quite apparent the bankruptcy court has the

authority and power to promulgate rules associated with court-annexed mediation and, where

necessary, to require the parties to participate in same. “). 3

IV.     THE DONDERO DEFENDANTS’ MOTION TO STAY SHOULD BE GRANTED

        The Dondero Defendants agree that a stay of the Kirschner Adversary is necessary to

preserve party and judicial resources, and to preserve what is left of the Debtor’s estate. However,

the terms of the Litigation Trustee’s proposed stay are not sufficient to ensure that a stay would

accomplish the parties’ ultimate goal of finally bringing the HCMLP bankruptcy and related

proceedings to a close. It is well within the Court’s inherent powers to fashion a broader stay that

will conserve both public and judicial resources. See Landis, 299 U.S. at 254-55 (“[T]he power to

stay proceedings is incidental to the power inherent in every court to control the disposition of

causes on its docket with economy of time and effort for itself, for counsel, and for litigants.”)).

For the reasons set forth below, the Court should ensure that any stay ordered actually facilitates

final resolution of the HCMLP bankruptcy and related litigation. The Dondero Defendants’

Motion should be granted.

        A.       A Broader Stay Is Warranted

        A stay limited to the Kirschner Adversary makes no sense. The limited stay proposed by

the Litigation Trustee will not stop professional spend on other litigation related to the HCMLP


3
 The Court previously invoked its inherent authority under 11 U.S.C. § 105 to order the parties in bankruptcy to
mediation. See Bankr. Dkt. 912.


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bankruptcy, will not encourage the parties to reach a global resolution of pending disputes, and

will not facilitate the close of the HCMLP bankruptcy proceedings.

        The Court should aim higher. If any stay is to be entered, it should apply broadly to those

proceedings that also threaten an unnecessary expenditure of time and resources. Specifically, and

at a minimum, any stay should apply to:4

                The Kirschner Adversary, with the exception of motions that are fully briefed and
                 ready for decision (i.e., defendants’ objections to the Bankruptcy Court’s Report
                 and Recommendation regarding motions to withdraw the reference);

                The Objection to Scheduled Claims 3.65 and 3.66 of Highland CLO Management,
                 Ltd. filed by the Debtor, Bankr. Dkt. 3657; and

                The Motion for Leave to File Proceeding filed by The Dugaboy Investment Trust,
                 Bankr. Dkt. 3662.5

        Ordering a stay of each of these proceedings is well within the Court’s inherent power to

manage its own docket for the purpose of conserving both party and judicial resources. See Landis,

299 U.S. at 254-55. If the Kirschner Adversary is put on hold while the parties continue to fight

about numerous other issues, a stay will have little effect on stopping the bleed. For context, it

appears that, by June 20, 2022, the estate had $550 million in cash and approximately $120 million

in other assets. See Bankr. Dkt. 3662, ¶ 10 & Ex. A, ¶¶ 6-7. Yet between the Effective Date of

the Plan and December 31, 2022, the Claimant Trust made non-distributed cash disbursements of

approximately $34.9 million, and HCMLP made non-distribution cash disbursements totaling

nearly $100 million. Compare Bankr. Dkt. 3653, p. 2 (listing total cash disbursements since

Effective Date), with id., p. 7 (listing disbursements to various claims holders); Bankr. Dkt. 3652,

p. 2.    And the Claimant Trustee has now paid distributions to allowed claims holders of



4
 Any matters that are fully briefed and sub judice need not be stayed.
5
  The Dondero Defendants would not seek to stay this proceeding if the Court is unwilling to fashion the relief set
forth in Section IV.C, below.


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approximately $261 million, or approximately 64% of the allowed claims. See Bankr. Dkt. 3653

at p. 7. If the estate continues to burn cash at this rate, professional fees and expenses will very

quickly overwhelm what little is left in the estate for payment of remaining estate liabilities.

       It goes without saying that there is substantial water under the bridge. It remains the

Dondero Defendants’ position that there is no reason HCMLP’s highly solvent estate should have

been liquidated, nor should estate professionals have facilitated sizeable claims trades to a handful

of insiders for meager consideration, to the detriment of creditors and stakeholders. See generally

Dkt. 3662 & Exs. A-1 – A-3. HCMLP and the Litigation Trustee likely have a different view. But

despite years of litigation and acrimony, the HCMLP bankruptcy and related disputes continue.

The parties can continue to fight and spend resources, or these issues can be mediated, resolved,

and the acrimony put to rest. For this reason, the Dondero Defendants also request that in addition

to staying the Kirschner Adversary, the Court order the parties to meet and confer to attempt to

reach a stipulation to stay other, related matters pending before the District Court. The Court

should enter a stay that is effective, not just a temporary band-aid.

       B.      Any Stay Should Require The Appointment Of A Mutually-Agreed Upon
               Mediator

       Notably absent from the terms of the Litigation Trustee’s proposed stay is any mechanism

aimed at achieving a global resolution of the remaining issues between the parties. As the

Litigation Trustee is aware, even if the Claimant Trustee could pay all creditors in full tomorrow

(rendering the Kirschner Adversary moot), significant disputes between the Dondero Defendants,

other stakeholders, and the Debtor and its management would remain. Such disputes include but

are not limited to: numerous pending adversary proceedings; counter claims and/or cross-claims

that Mr. Dondero and other stakeholders may have against any “Protected Parties” (as that term is

defined in the Plan) or other responsible third parties in relation to the HCMLP bankruptcy and



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pending adversary proceedings; and the scope of any releases to be given pursuant to any global

settlement. All of these disputes must be resolved to finally bring the bankruptcy to a close. It is

for precisely that reason that Mr. Dondero sought a Court-ordered mediation and global resolution

of the parties’ disputes more than 22 months ago, when the estate spend could have been

significantly curtailed for the benefit of creditors and other stakeholders. See Bankr. Dkt. 2641.

HCMLP, the Claimant Trust, and the Litigation Sub-Trust opposed mediation at that time in the

absence of a host of unilateral concessions from Mr. Dondero that are far more onerous than those

being requested in the Dondero Parties’ Motion. See Bankr. Dkt. 2756, ¶ 11.

        Twenty-two months later, the disputes between the parties are no closer to resolution, and

the estate continues to erode at an exponential pace. Given the complexity of these issues, the long

history of litigation and mistrust that has developed between the parties, the Court’s limited

resources, and the quickly eroding estate, mediation presents the best opportunity to reach a global

resolution. Accordingly, any order staying proceedings should require all relevant parties to notify

the Court of an agreed-upon mediator tasked with facilitating global resolution within 30 days of

entry of the stay.

        C.      Any Stay Should Require The Disclosure Of Critical Financial Information By
                The Debtor And The Claimant Trust

        Finally, any stay order should require the Debtor to disclose the financial information

required to permit the Dondero Defendants (and other stakeholders in interest) to assess the extent

of the bankruptcy estate’s assets and liabilities. The Litigation Trustee’s Motion does not dispute

that the Debtor’s ability to satisfy creditors and its indemnification obligations in full would

preclude recovery in this action. See Litigation Trustee’s Motion at ¶ 19 (“pursuit of this litigation

may prove unnecessary”); ¶ 20 (“Like the Claimant Trust, Defendants can defer extensive

litigation expenses during the Stay Period, and perhaps permanently, depending on the results of



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the monetization of HCMLP’s remaining assets and the satisfaction of indemnification

obligations.”). Again, the Dondero Defendants agree that a stay presents a valuable opportunity

to reach a global resolution of the parties’ outstanding disputes—including the Litigation Trustee’s

claims against the defendants in the Kirschner Adversary and the claims that the Dondero

Defendants and other stakeholders may have against third parties or the Debtor. But it would be

very difficult if not impossible for the Dondero Defendants and other relevant stakeholders to

engage meaningfully in mediation without basic information regarding the delta between estate

assets and liabilities. In particular, disclosure of the following information is imperative:

              Quarterly financials prepared in accordance with Generally Accepted Accounting
               Principles (GAAP) including relevant supporting schedules and footnotes for the
               entire period the Claimant Trust has been operating and for the period
               immediately preceding the transfer of assets and liabilities to the Claimant Trust;

              Unrestricted cash balances as of the end of each calendar quarter from Q3 2021
               through Q1 2023;

              Cumulative paid amounts to allowed class 8 claimholders in the aggregate through
               March 2023;

              Remaining amounts owed to allowed class 8 claimholders in the aggregate as of
               March 2023;

              Remaining amounts owed to allowed class 9 claimholders in the aggregate as of
               March 2023;

              Remaining pending claims, including the claimholder and face amount of the claim,
               as of March 2023;

              Cumulative amounts funded to the Indemnity Trust as of March 2023;

              Total interest-bearing debt outstanding as of March 2023;

              The net proceeds to the Claimant Trust and/or HCMLP of the following assets:
               Trussway, Targa, SSP, Cornerstone, HCLOF, MGM (directly held shares), Maple
               Avenue, and PetroCap Partners III; and

              A list of material investments, notes, and other assets held by the Claimant Trust.

       The above information will reveal whether the estate has sufficient assets to pay its


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creditors and what, if anything, might be necessary to close the gap. If the estate does have

sufficient assets to pay creditors in full—and the Dondero Defendants have reason to believe that

it does—then the Kirschner Adversary need not proceed. That is something the parties must

understand in order to resolve their remaining disputes.         Accordingly, any order staying

proceedings should require disclosure of this information in the public record within 30 days of

entry of the stay.

V.      CONCLUSION

        It is time to bring the HCMLP bankruptcy proceedings to a close. But the only meaningful

way to do so is to enter a broad stay, order the parties to mediation, and require disclosure of

information that is necessary to facilitate global resolution. The limited stay proposed by the

Litigation Trustee does not accomplish any of this, and absent the additional protections suggested

in the Dondero Defendants’ Motion, the Dondero Defendants must oppose the relief sought. The

Litigation Trustee’s Motion should be denied, and the Dondero Defendants’ Motion should be

granted.

 Dated: March 29, 2022                              DLA PIPER LLP (US)
                                                    /s/ Jason M. Hopkins
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                                                    Austin, TX 78701
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                                                    1900 N. Pearl Street, Suite 2200
                                                    Dallas, Texas 75201
                                                    Tel: 214-743-4500/Fax: 214-743-4545
                                                    Email: jason.hopkins@us.dlapiper.com
                                                    Attorneys for Defendants James Dondero,
                                                    Dugaboy Investment Trust, Get Good Trust ,
                                                    and Strand Advisors, Inc.



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                              CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that on March 28-29, 2023, counsel for the Dondero

Defendants spoke to and corresponded with counsel for the Litigation Trustee and counsel for the

Debtor regarding the relief requested in the foregoing motion via email and telephone conference.

The Litigation Trustee and the Debtor do not agree to the relief request, and so this motion is

submitted as being OPPOSED.

                                               /s/ Amy L. Ruhland
                                               Amy L. Ruhland


                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on this the 29th day of March, 2023, true and correct

copies of this document were electronically served by the court’s ECF system on parties entitled

to notice thereof, including on counsel Plaintiff.

                                               /s/ Jason M. Hopkins
                                               Jason M. Hopkins




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                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION


 In re:                                     Chapter 11

 HIGHLAND CAPITAL MANAGEMENT, L.P.          Case No. 19-34054 (SGJ)

                  Reorganized Debtor.

 MARC S. KIRSCHNER, AS LITIGATION           Adv. Pro. No. 21-03076-sgj
 TRUSTEE OF THE LITIGATION SUB-
 TRUST,                                     [PROPOSED] ORDER GRANTING
                                            THE DONDERO DEFENDANTS’
                  Plaintiff                 MOTION TO STAY

          v.

 JAMES D. DONDERO; MARK A. OKADA;
 SCOTT ELLINGTON; ISAAC LEVENTON;
 GRANT JAMES SCOTT III; FRANK
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 WATERHOUSE; STRAND ADVISORS, INC.;
 NEXPOINT ADVISORS, L.P.; HIGHLAND
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 ADVISORS, L.P.; DUGABOY INVESTMENT
 TRUST AND NANCY DONDERO, AS
 TRUSTEE OF DUGABOY INVESTMENT
 TRUST; GET GOOD TRUST AND GRANT
 JAMES SCOTT III, AS TRUSTEE OF GET
 GOOD TRUST; HUNTER MOUNTAIN
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 HOLDCO, LTD.; CHARITABLE DAF FUND,
 LP.; HIGHLAND DALLAS FOUNDATION;
 RAND PE FUND I, LP, SERIES 1; MASSAND
 CAPITAL, LLC; MASSAND CAPITAL, INC.;
 SAS ASSET RECOVERY, LTD.; AND CPCM,
 LLC,

                     Defendants.


      ORDER GRANTING THE DONDERO DEFENDANTS’ MOTION TO STAY

       Having considered the Motion to Stay (the “Motion to Stay”) filed by Defendants James

D. Dondero, Strand Advisors, Inc., Dugaboy Investment Trust, and Get Good Trust (collectively,

the “Dondero Defendants”), the Court finds and concludes (i) it has jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334; (b) notice of the Motion to Stay was sufficient under the

circumstances; and (c) good cause exists to grant the relief requested in the Motion to Stay.

Accordingly, IT IS THEREFORE ORDERED THAT:

           1. The Motion to Stay is GRANTED as set forth herein.
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         2. The following proceedings are hereby STAYED through and including September

             30, 2023, which stay will continue thereafter until any party to the action provides

             30 days’ written notice to all other parties and the Court of their intent to resume

             the action:

                a. Kirschner v. Dondero, et al., Adv. Proc. No. 21-03076-sgj; PROVIDED,
                   HOWEVER, that motions that are fully briefed and ready for decision (i.e.,
                   objections to the Bankruptcy Court’s Report and Recommendation
                   regarding motions to withdraw the reference) may be decided;

                b. The Objection to Scheduled Claims 3.65 and 3.66 of Highland CLO
                   Management, Ltd. filed by the Debtor [Bankr. Dkt. 3657]; and

                c. The Motion for Leave to File Proceeding filed by The Dugaboy Investment
                   Trust [Bankr. Dkt. 3662].

         3. Within 30 days of the entry of this Order, the parties shall notify the Court of an

             agreed-upon mediator tasked with facilitating resolution of the disputes remaining

             between the parties including, but not limited to, (a) all pending adversary

             proceedings; (b) counter claims and/or cross-claims that Mr. Dondero and other

             stakeholders may have against any “Protected Parties” (as that term is defined in

             Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. (As

             Modified)) or other responsible third parties in relation to the HCMLP bankruptcy

             and pending adversary proceedings; (c) and the scope of any releases to be given

             pursuant to any such resolution.

         4. Within 30 days of the entry of this Order, the Litigation Trustee and/or the Debtor

             shall facilitate the disclosure of the following information, to be filed in the public

             record in In re Highland Capital Management, L.P., Case No. 19-34054-sgj11:

                a. Quarterly financials prepared in accordance with Generally Accepted
                   Accounting Principles (GAAP) including relevant supporting schedules and
                   footnotes for the entire period the Claimant Trust has been operating and
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                     for the period immediately preceding the transfer of assets and liabilities to
                     the Claimant Trust;
                b.   Unrestricted cash balances as of the end of each calendar quarter from Q3
                     2021 through Q1 2023;
                c.   Cumulative paid amounts to allowed class 8 claimholders in the aggregate
                     through March 2023;
                d.   Remaining amounts owed to allowed class 8 claimholders in the aggregate
                     as of March 2023;
                e.   Remaining amounts owed to allowed class 9 claimholders in the aggregate
                     as of March 2023;
                f.   Remaining pending claims, including the claimholder and face amount of
                     the claim, as of March 2023;
                g.   Cumulative amounts funded to the Indemnity Trust as of March 2023;
                h.   Total interest-bearing debt outstanding as of March 2023;
                i.   The net proceeds to the Claimant Trust and/or HCMLP of the following
                     assets: Trussway, Targa, SSP, Cornerstone, HCLOF, MGM (directly held
                     shares), Maple Avenue, and PetroCap Partners III; and
                j.   List of material investments, notes, and other assets held by the Claimant
                     Trust.

         5. The Court shall retain jurisdiction to hear and determine all matters arising from or

             related to the implementation of this Order.



                                 ### END OF ORDER ###
